              Case 18-36221-KRH                    Doc 1        Filed 12/11/18 Entered 12/11/18 15:17:14                                 Desc Main
                                                                Document     Page 1 of 14
Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF VIRGINIA

Case number (if known)                                                        Chapter you are filing under:
                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12

                                                                                 Chapter 13                                        Check if this an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                               12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Stewart                                                          Candice
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        Wayne                                                            Marie
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   Capps                                                            Capps
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years                                                                       Candice Marie Alexander
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-0906                                                      xxx-xx-0063
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                              page 1
              Case 18-36221-KRH                  Doc 1       Filed 12/11/18 Entered 12/11/18 15:17:14                               Desc Main
                                                             Document     Page 2 of 14
Debtor 1   Stewart Wayne Capps
Debtor 2   Candice Marie Capps                                                                        Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 382 Mitchells Mill Road
                                 Aylett, VA 23009
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 King William
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
              Case 18-36221-KRH                   Doc 1         Filed 12/11/18 Entered 12/11/18 15:17:14                               Desc Main
                                                                Document     Page 3 of 14
Debtor 1    Stewart Wayne Capps
Debtor 2    Candice Marie Capps                                                                           Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                Chapter 7
                                     Chapter 11
                                     Chapter 12

                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                                          ch7/Debtors
                                                          discharged:
                                              District    06/29/2011                    When     3/16/11                Case number      11-31708
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
              Case 18-36221-KRH                   Doc 1        Filed 12/11/18 Entered 12/11/18 15:17:14                             Desc Main
                                                               Document     Page 4 of 14
Debtor 1    Stewart Wayne Capps
Debtor 2    Candice Marie Capps                                                                            Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
              Case 18-36221-KRH                    Doc 1        Filed 12/11/18 Entered 12/11/18 15:17:14                            Desc Main
                                                                Document     Page 5 of 14
Debtor 1    Stewart Wayne Capps
Debtor 2    Candice Marie Capps                                                                        Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
              Case 18-36221-KRH                  Doc 1       Filed 12/11/18 Entered 12/11/18 15:17:14                                    Desc Main
                                                             Document     Page 6 of 14
Debtor 1    Stewart Wayne Capps
Debtor 2    Candice Marie Capps                                                                           Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.

                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    to be?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Stewart Wayne Capps                                           /s/ Candice Marie Capps
                                 Stewart Wayne Capps                                               Candice Marie Capps
                                 Signature of Debtor 1                                             Signature of Debtor 2

                                 Executed on     December 11, 2018                                 Executed on     December 11, 2018
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
             Case 18-36221-KRH                       Doc 1        Filed 12/11/18 Entered 12/11/18 15:17:14                           Desc Main
                                                                  Document     Page 7 of 14
Debtor 1   Stewart Wayne Capps
Debtor 2   Candice Marie Capps                                                                            Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Nupa Agarwal                                                   Date         December 11, 2018
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Nupa Agarwal 42545
                                Printed name

                                Nupa Agarwal Attorney at Law
                                Firm name

                                PO Box 17275
                                Richmond, VA 23226
                                Number, Street, City, State & ZIP Code

                                Contact phone     (804) 691-2655                             Email address         nupaagarwal@gmail.com
                                42545 VA
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
    Case 18-36221-KRH Doc 1 Filed 12/11/18 Entered 12/11/18 15:17:14   Desc Main
       Capps, Stewart and Candice
                            Document- - Page
                                          Pg. 1  of147
                                              8 of

}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                        Department of Treasury-IRS
                        IRS
                        PO Box 7346
                        Philadelphia, PA 19101


                        Aarons
                        251 N Washington Hwy, Ste b-1
                        Ashland, VA 23005


                        Advance America
                        7029 Mechanicsville Tnpk
                        Mechanicsville, VA 23111


                        AMCA
                        PO Box 1235
                        Elmsford, NY 10523


                        American Anesthesiology of VA
                        PO Box 88087
                        Chicago, IL 60680-1087


                        AR Resources, Inc.
                        Po Box 1056
                        ATTN: Bankruptcy
                        Blue Bell, PA 19422


                        Aylett Med CTR-A Dept of MRMC
                        PO Box 843356
                        Boston, MA 02284-3356


                        Aylett Med CTR-A Dept of MRMC
                        ATTN: 18117j
                        PO Box 14000
                        Belfast, ME 04915-4033


                        BCC Financial Services
                        PO Box 590097
                        Fort Lauderdale, FL 33359


                        Bon Secours
                        Richmond Health System
                        PO Box 843356
                        Boston, MA 02284-3356
Case 18-36221-KRH Doc 1 Filed 12/11/18 Entered 12/11/18 15:17:14   Desc Main
   Capps, Stewart and Candice
                        Document- - Page
                                      Pg. 2  of147
                                          9 of


                    Bon Secours Medical Group
                    PO Box 843356
                    Boston, MA 02284-3356


                    CAB
                    8002 Discovery Drive
                    Suite 311
                    Henrico, VA 23229


                    Capio Partners LLC
                    2222 Texoma Pkwy
                    Ste 150
                    Sherman, TX 75090


                    Capital One
                    Attn: Bankruptcy
                    Po Box 30285
                    Salt Lake City, UT 84130


                    Caroline County Fire & Rescue
                    PO Box 863
                    Lewisville, NC 27023-0863


                    Cashnet Usa
                    175 W. Jackson Ste 1000
                    Chicago, IL 60604


                    CBE Group
                    131 Tower Park Drive
                    Suite 100
                    Waterloo, IA 50701


                    Commonwealth Financial Systems
                    Attn: Bankruptcy
                    245 Main Street
                    Dickson City, PA 18519


                    Commonwealth Radiology
                    1508 Willow Lawn Drive
                    Ste 117
                    Richmond, VA 23230


                    Comonwealth of VA Dept of Tax
                    c/o Tax Authority Consulting
                    PO Box 2156
                    Richmond, VA 23218
Case 18-36221-KRH Doc 1 Filed 12/11/18 Entered 12/11/18 15:17:14   Desc Main
   Capps, Stewart and Candice
                       Document- - Page
                                      Pg. 10
                                          3 of
                                             of147



                    Convergent Outsourcing Inc.
                    PO Box 9004
                    Renton, WA 98057


                    Credit Acceptance
                    25505 West 12 Mile Road
                    Suite 3000
                    Southfield, MI 48034


                    Credit Collection Sercies
                    725 Canton Street
                    626.6
                    Norwood, MA 02062


                    Emergency Medicine Associates
                    PO Box 88087
                    Chicago, IL 60680-1087


                    Emergency Medicine Associates
                    PO Box 826804
                    Philadelphia, PA 19182-6804


                    Equifax
                    Attn: Bankruptcy Dept.
                    P.O. Box 740241
                    Atlanta, GA 30374


                    Experian
                    Attn: Bankruptcy Dept.
                    P.O. Box 2002
                    Allen, TX 75013


                    Fidelity Bank Mortgage
                    ATTN: Mortgage Servicing
                    PO Box 105075
                    Atlanta, GA 30348-5075


                    First Premier Bank
                    Attn: Bankruptcy
                    Po Box 5524
                    Sioux Falls, SD 57117


                    Focused Recovery Solution
                    PO Box 63355
                    Charlotte, NC 28263
Case 18-36221-KRH Doc 1 Filed 12/11/18 Entered 12/11/18 15:17:14   Desc Main
   Capps, Stewart and Candice
                       Document- - Page
                                      Pg. 11
                                          4 of
                                             of147



                    Ford Motor Credit
                    Attn: Bankruptcy
                    Po Box 542000
                    Omaha, NE 68154


                    Ford Motor Credit
                    PO Box 6508
                    Mesa, AZ 85216-6508


                    Fredicksburg Emer Med Alliance
                    PO Box 888
                    Fredericksburg, VA 22404-0888


                    Frost-Arnett Company
                    PO Box 1280
                    Oaks, PA 19456-1280


                    Hanover County General Dist Co
                    P. O. Box 176
                    7515 Library Drive
                    Hanover, VA 23069-0176


                    Henrico County Gen. Dist. Crt.
                    P. O. Box 90775
                    4301 East Parham Road
                    Henrico, VA 23273-0775


                    Horizon Financial Management
                    8980 Georgia St.
                    Crown Point, IN 46307-6520


                    Ic Systems Inc
                    Po Box 64378
                    St. Paul, MN 55164


                    IRS Centralized Insolvency Ope
                    PO BOx 7346
                    Philadelphia, PA 19101-7346


                    IRS Insolvency*
                    400 N. 8th Street Box 76
                    M/ROOM 898
                    Richmond, VA 23219
Case 18-36221-KRH Doc 1 Filed 12/11/18 Entered 12/11/18 15:17:14   Desc Main
   Capps, Stewart and Candice
                       Document- - Page
                                      Pg. 12
                                          5 of
                                             of147



                    Jefferson Capital Systems
                    16 McLeland Rd
                    Saint Cloud, MN 56303


                    Lab. Corp
                    PO Box 2240
                    Burlington, NC 27216


                    Lendmark Financial Ser
                    2118 Usher St NW
                    Covington, GA 30014


                    Lincoln Automotive Fin Svcs
                    Attn: Bankruptcy
                    Po Box 542000
                    Omaha, NE 68154


                    Memorial Regional Med. Center
                    PO BOX 409438
                    Atlanta, GA 30384-9438


                    Miramed Revenue Group
                    Attn: Bankruptcy
                    360 East 22nd Street
                    Lombard, IL 60148


                    MiraMed Revenue Group
                    360 East 22nd Street
                    Lombard, IL 60148


                    MiraMed Revenue Group
                    P.O. Box 536
                    Linden, MI 48451-0536


                    Mitchell D. Bluhm & Assoc
                    3400 Texoma PKWY, Suite 100
                    Sherman, TX 75090


                    Monument Pathologists Inc.
                    PO Box 91726
                    Richmond, VA 23291-1726


                    Monument Pathologists Inc.
                    P.o. Box 5468
                    Martinsville, VA 24115-5468
Case 18-36221-KRH Doc 1 Filed 12/11/18 Entered 12/11/18 15:17:14   Desc Main
   Capps, Stewart and Candice
                       Document- - Page
                                      Pg. 13
                                          6 of
                                             of147



                    One Hampton Medical
                    3475 Momentum Place
                    Chicago, IL 60689-5334


                    One Hanpton Medical
                    3475 Momentum PL
                    Chicago, IL 60689-5334


                    OSLA/Dept of Ed
                    Attn: Bankruptcy
                    Po Box 18475
                    Oklahoma City, OK 73154


                    Patricia Capps
                    PO Box 325
                    Ladysmith, VA 22501


                    Portfolio Recovery
                    Po Box 41021
                    Norfolk, VA 23541


                    Randolph Boyd Cherry and Vaugh
                    13 East Main Street
                    Richmond, VA 23219


                    Receivables Outsourcing, LLC
                    PO Box 549
                    Lutherville Timonium, MD 21094


                    Richmond Card Assoc-
                    A Dept of MRMC
                    PO Box 843356
                    Boston, MA 02284-3356


                    Richmond Emergency Physcians
                    PO Box 79013
                    Baltimore, MD 21279-0013


                    Scheer, Green, & Burke, Co.
                    PO Box 1312
                    Toledo, OH 43603-1312


                    Spinella Owings and Shaia
                    8550 Mayland Dr
                    Henrico, VA 23294
Case 18-36221-KRH Doc 1 Filed 12/11/18 Entered 12/11/18 15:17:14   Desc Main
   Capps, Stewart and Candice
                       Document- - Page
                                      Pg. 14
                                          7 of
                                             of147



                    ST Mary's of Richmond Pro Fee
                    PO Box 28538
                    Henrico, VA 23228-8538


                    Stern Recovery Services
                    415 North Edgeworth Street
                    Suite 210
                    Greensboro, NC 27401


                    Surgical Specs of Richmond
                    ATTN#18117J
                    PO Box 14000
                    Belfast, ME 04915-4033


                    The Law Offices of
                    Mitchel D.Bluhm & Assoc
                    3400 Texoma Pkwy, Ste 100
                    Sherman, TX 75090


                    Transunion
                    Attn: Bankruptcy Dept.
                    P.O. Box 1000
                    Crum Lynne, PA 19022


                    United Consumers Inc
                    Attn: Bankruptcy Dept
                    Po Box 4466
                    Woodbridge, VA 22192


                    United Consumers Inc
                    PO Box 4466
                    Woodbridge, VA 22194


                    Virginia Breast Center
                    ATTN: 18118C
                    PO BOx 14000
                    Belfast, ME 04915-4033


                    West End Anesthesia Group Inc.
                    5855 Bremo Rd.
                    Ste. 100
                    Richmond, VA 23226-1926
